   Case 08-14631-GMB           Doc 29    Filed 03/18/08 Entered 03/18/08 17:15:24      Desc Main
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                                                                                3/18/2008
    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    MARK E. FELGER (MF9985)
    JERROLD N. POSLUSNY, JR. (JP7140)
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    Proposed Attorneys for the Debtors

    In re:                                                 Case No. 08-14631
    SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                           Judge: Gloria M. Burns
                    Debtors.
                                                           Chapter: 11




                   Recommended Local Form:              Followed           Modified



                   ORDER DIRECTING JOINT ADMINISTRATION OF CASES

             The relief set forth on the following page, numbered two (2) is hereby ORDERED.




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Shapes/Arch Holdings L.L.C., et al.

Case No: 08-

Order Directing Joint Administration of Cases



          Upon the motion of Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C., Accu-

Weld LLC and Ultra LLC, debtors and debtors-in-possession in the above captioned cases for an

order pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure, directing the joint

administration of the following cases for procedural purposes only,

Shapes/Arch Holdings L.L.C., 08 -14631

Shapes L.L.C., 08-14632

Delair L.L.C., 08- 14634

Accu-Weld L.L.C., 08- 14635

Ultra L.L.C., 08- 14633

and for good cause shown, it is

          ORDERED that the cases listed above shall be jointly administered by the court, and it is

further

          ORDERED that case number 08 -14631                        shall be designated as the lead case,

and it is further

          ORDERED that nothing contained in this order or in the motion shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of the debtors or the

above captioned cases, and it is further

          ORDERED that this Order shall be filed in each of the above listed cases.




CHERRY_HILL\429900\1 077771.000




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                                                           Approved by Judge Gloria M. Burns March 18, 2008
